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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :     20-CR-378-3 (LJL)
                                                                       :
ADEDAYO ILORI,                                                         :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The motion of defendant Adedayo Ilori to suppress any and all statements that he made to law
enforcement on or about March 4, 2020, after he invoked his right to counsel is GRANTED. The
Government shall not be permitted to offer any such statements in its case-in-chief. The Court does
not understand defendant to have moved to preclude the Government from using the statements to
impeach or in rebuttal should defendant testify at trial and, accordingly, the Court reserves judgment
on that issue until the issue becomes ripe at trial. The Court will use the November 13, 2020, hearing
to address the status of the case and to set a date for trial. The clerk of court is respectfully requested
to close the motion appearing at Dkt. No. 38.


        SO ORDERED.

Dated: November 5, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
